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                                                              June 30, 2023
VIA ECF

Hon. Jennifer L. Rochon
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

                Re: Case No. 23-cv-2381 — Kuriyan v. Schreiber et al.
Judge Rochon,

        We write in response to Plaintiff’s letter of June 26, 2023.

       On June 8, 2023, Mr. Schreiber submitted the following two-sentence letter request to the
Court requesting an extension of time to respond to the Complaint: “My son is getting married this
month. I respectfully ask for a 45-day extension in order to retain counsel to represent and guide
me through this process.” ECF No. 18. By memo-endorsed Order, dated June 12, the Court
granted the request and adjourned the Initial Pretrial Conference for all parties. Id.

        Plaintiff asks the Court to strictly construe Mr. Schreiber’s pro se two-sentence letter
request for an extension of time to respond to the Complaint as making the fine legal distinction
between himself and his LLC, Waterbridge. Mr. Schreiber, who is not an attorney, intended his
request to be on behalf of himself and Waterbridge. Plaintiff’s strained construction of Mr.
Schreiber’s letter runs contrary to “[t]he policy of liberally construing pro se submissions[,]” which
is meant “to protect pro se litigants from inadvertent forfeiture of important rights because of their
lack of legal training”—such as the right to respond to a Complaint. McLeod v. Jewish Guild for
the Blind, 864 F.3d 154, 156–57 (2d Cir. 2017).

        Plaintiff urges this improper strained construction of a technical point in a case where
Plaintiff must lose now because he already lost in state court. Indeed, this frivolous action is a
regrettable waste of the Court’s precious time and resources. Moreover, given Plaintiff’s decisive
loss in state court, it is difficult to avoid the conclusion that Plaintiff brought this action merely to
harass the Defendants and force them to spend money on their defense. The Court should
respectfully vacate the Certificate of Default and extend Defendants’ time to respond to the
Complaint.
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Res Judicata Bars Plaintiff’s Entire Complaint
         Courts in the Second Circuit have a “strong preference for resolving disputes on the merits,
rather than based on a default.” Johnson v. New York Univ., 324 F.R.D. 65, 69–70 (S.D.N.Y.
2018) (cleaned up). Here, Plaintiff’s Complaint is meritless. As established in Waterbridge’s
initial submission, the prior state court action is res judicata against Plaintiff’s RICO claims here.1
The law is clear. When “determin[ing] the effect of a state court judgment, federal courts,
including those sitting in diversity, are required to apply the preclusion law of the rendering state.”
Conopco, Inc. v. Roll Int’l, 231 F.3d 82, 87 (2d Cir. 2000).2 “New York has adopted a transactional
approach to res judicata. This approach bars a later claim arising out of the same factual grouping
as an earlier litigated claim even if the later claim is based on different legal theories or seeks
dissimilar or additional relief.” Clarkstown Recycling Ctr., Inc. v. Parker, Chapin Flattau &
Klimpl, LLP, 1 F. Supp. 2d 327, 329 (S.D.N.Y. 1998) (emphasis added) (cleaned up).

        Here, Plaintiff admits in Paragraph 54 of the Complaint that this lawsuit arises from the
same exact criminally usurious loans that were the subject of the prior state court action. In the
prior state action, Plaintiff could have asserted the same RICO claims he now alleges here—yet
he attempted to do so. Simpson Elec. Corp. v. Leucadia, Inc., 530 N.E.2d 860, 866 (1988) (“State
courts have concurrent jurisdiction over RICO civil claims”). “Second Circuit doctrine holds that
judgments rendered in prior suits” are “given preclusive effect in a subsequent action between the
same parties or their privies asserting a RICO claim that could have been but was not expressly
asserted in the earlier litigation. . . . a party cannot avoid the preclusive effect of res judicata
or collateral estoppel by recasting allegations . . . adjudicated in the prior litigation as a
federal RICO action.” Singh v. Parnes, 199 F. Supp. 2d 152, 158–59 (S.D.N.Y. 2002) (emphasis
added) (citing Saud v. Bank of N.Y., 929 F.2d 916, 919 (2d Cir. 1991); Polur v. Raffe, 912 F.2d
52, 57 (2d Cir. 1990)).

      Yet that is precisely what Plaintiff is attempting here. The prior action was dismissed on
the merits with prejudice. Accordingly, Plaintiff’s Complaint is barred by res judicata.
Accordingly, the Court should respectfully permit Waterbridge to defend against this frivolous
RICO action.


1
  Contrary to Plaintiff’s position, the appropriate place to fully brief the res judicata issue is in a motion to dismiss,
which Defendants intend to file. As set forth in Waterbridge’s letter motion (ECF No. 25 at p.2), Defendants are not
required to prove a defense now. See Schlatter v. China Precision Steel, Inc., 296 F.R.D. 258, 261 (S.D.N.Y. 2013).
2
 Plaintiff’s reliance upon N.L.R.B. v United Tech. Corp., 706 F.2d 1254, 1259–60 (2d Cir 1983) is misguided. ECF
No. 28. Among other reasons, that case deals with federal res judicata law, not the controlling law of New York
State. Moreover, that case involved “events . . . occur[ing] at different places, and more than a decade apart . . .
different employees engaged in different acts; and . . . different employer conduct in response to those acts.” Id. at
1260. Here, Plaintiff admits that this action is based on the same exact transactions as in the prior state action.
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Plaintiff Suffers No Prejudice from a Ten-Day Delay
        Plaintiff claims that Waterbridge is in default by ten days.3 Even assuming Plaintiff is
correct, such a short delay does not prejudice Plaintiff—particularly where Plaintiff does not
dispute that Mr. Schreiber still has additional time to respond to the Complaint. Even so, “delay
standing alone does not establish prejudice.” Enron Oil Corp. v. Diakuhara, 10 F.3d 90, 98 (2d
Cir. 1993). “[A] plaintiff must demonstrate that delay will result in the loss of evidence, create
increased difficulties of discovery, or provide greater opportunity for fraud and collusion.” Davis
v. Musler, 713 F.2d 907, 916 (2d Cir. 1983) (cleaned up). Plaintiff simply cannot make such a
showing under these circumstances.

Plaintiff Filed the Default Motion Only After Our Office Attempted to Contact His Counsel
        Plaintiff makes much of the fact that he filed a motion for default judgment on June 26,
2023, and demands a formal motion in response. But Plaintiff omits that earlier that same day—
before Plaintiff filed his motion, and after we were retained—our office attempted in good faith to
contact Plaintiff’s counsel by phone (at 3:32 PM and 4:18 PM) and by email (at 4:41 PM) to obtain
Plaintiff’s consent to vacate the Certificate of Default in the hopes of avoiding needless motion
practice. Ex. “A.” It appears that, while our office awaited a response, Plaintiff hurried to file the
motion for a default judgment.4 Our office was advised by the Clerk’s office that Plaintiff filed
his motion at or about 5:28 PM on June 26. This is nothing short of gamesmanship, which this
Could should not countenance. Waterbridge respectfully requests that the Court exercise its
discretion to treat its letter motion as a formal response to Plaintiff’s motion and vacate the
Certificate of Default. Davis v. Musler, 713 F.2d 907, 912 (2d Cir. 1983) (the decision to vacate
a default is “addressed to the sound discretion of the district judge”).

                                                                          Respectfully submitted,


                                                                          Eliad S. Shapiro

3
  Plaintiff’s counsel baselessly accuses our firm of somehow acting from the shadows as Defendants’ counsel in this
litigation prior to our appearance on June 26 and misrepresenting our involvement to the Court so that Defendants
could delay this litigation. That is nonsense. Our firm was not retained with respect to this action until June 26, 2023.
Obviously, the fact that either undersigned counsel or the firm represented Mr. Schreiber in any past action does not
mean that our representation necessarily continued to this action.
4
  That Plaintiff even filed for the Certificate of Default under the circumstances here is telling. Plaintiff knew that
Defendants were trying to obtain counsel. ECF Nos. 16, 18. The Court ordered Plaintiff to update the Court as to the
status of Defendants’ efforts to find counsel by July 20, 2023. ECF No. 18. Yet Plaintiff deliberately chose not to do
so, and instead requested the Certificate of Default. It appears that Plaintiff was simply unwilling to risk the possibility
that this Court would award Waterbridge additional time to obtain counsel and move to dismiss this frivolous action.
The Court should respectfully refuse to reward such tactics with entry of a default judgment.
